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Pro Se 1 (Rev. 12/16) Complaintfuraeivil Case



                                      UNITED STATES DISTRICT COURT [5                                                        ~       [_      1~     ir~I
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                                                     Eastern                   District of_Virgin: fJJ            ,U
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                       Beatrice Downs                                      )       Case No.        3·.1•1 (~V               1~c)
                                                                           )                      (to be filled in by the Clerk's Office)
                                                                           )
                             Plaintiff(s)                                  )
(Write the fall name of each plaintiffwho is filing this complaint.
If the names ofall the plaintiffs cannot flt in the space above,
                                                                           )       Jury Trial: (check one)    D Yes         [{]No
please write "see attached" in the space and attach an additional          )
page with the fall list ofnames.)                                          )
                                -v-                                        )
                                                                           )
                   Governor Terry McAuliffe
                                                                           )
                                                                           )
                                                                           )
                             Defendant(s)
(Write the fall name ofeach defendant who is being sued. If the
                                                                           )
names of all the defendants cannot flt in the space above, please          )
write "see attached" in the space and attach an additional page            )
with the fall list ofnames.)



                                                COMPLAINT FOR A CIVIL CASE

I.          The Parties to This Complaint
            A.      The Plaintiff(s)

                    Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                    needed.
                              Name                                    Beatrice Downs
                              Street Address                          P. 0. Box 1362/1225 E Gaskins Road Henrico Va.23238
                              City and County                         Glen Allen
                              State and Zip Code                      Virginia 23060
                              Telephone Number                        804 3076691
                              E-mail Address                          bnws67pp@gmail.com


            B.      The Defendant(s)

                    Provide the information below for each defendant named in the complaint, whether the defendant is an
                    individual, a government agency, an organization, or a corporation. For an individual defendant,
                    include the person's job or title (if known). Attach additional pages if needed.


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                     Defendant No. 1
                                Name                        Terry McAuliffe
                                Job or Title (if known)     Governor of Virginia
                                Street Address              1111 E Broad St. #3
                                City and County             Richmond
                                State and Zip Code          Virginia 23219
                                Telephone Number            804 786 2211
                                E-mail Address (if known)


                     Defendant No. 2
                                Name
                                Job or Title (if known)
                                Street Address
                                City and County
                                State and Zip Code
                                Telephone Number
                                E-mail Address (if known)


                     Defendant No. 3
                                Name
                                Job or Title (ifknown)
                                Street Address
                                City and County
                                State and Zip Code
                                Telephone Number
                                E-mail Address (if known)


                     Defendant No. 4
                                Name
                                Job or Title (ifknown)
                                Street Address
                                City and County
                                State and Zip Code
                                Telephone Number
                                E-mail Address (if known)



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II.        Basis for Jurisdiction

           Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
           heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
           parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
           is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
           another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. In a
           diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

           What is the basis for federal court jurisdiction? (check all that apply)
                   ll'IFederal question                             D Diversity of citizenship
           Fill out the paragraphs in this section that apply to this case.

           A.         If the Basis for Jurisdiction Is a Federal Question

                      List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
                      are at issue in this case.
                       First Admendment:Does an individual peacefully protesting on sidewalk, state property complies with
                       exercising first admendment rights? Did the security guard action telling her she can't protest here.and
                       then told her she had to leave the area infringed on those rights?



           B.         If the Basis for Jurisdiction Is Diversity of Citizenship

                      1.         The Plaintiff(s)

                                 a.         If the plaintiff is an individual
                                            The plaintiff, (name)                                               , is a citizen of the
                                                                    ~~~~~~~~~~~~~~~~-




                                            State of (name)
                                                               ~~~~~~~~~~~~~~~~




                                 b.         If the plaintiff is a corporation
                                            The plaintiff, (name)                                               , is incorporated
                                            under the laws of the State of (name)
                                            and has its principal place of business in the State of (name)



                                 (If more than one plaintiff is named in the complaint, attach an additional page providing the
                                 same information for each additional plaintiff.)

                      2.         The Defendant(s)

                                 a.         If the defendant is an individual
                                            The defendant, (name)                                               , is a citizen of
                                                                       ~~~~~~~~~~~~~~~-




                                            the State of (name)                                               0 r is a citizen of
                                            (foreign nation)


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                                  b.         If the defendant is a corporation
                                             The defendant, (name)                                        , is incorporated under
                                                                       ~~~~~~~~~~~~~~




                                             the laws of the State of (name)                                        , and has its
                                             principal place of business in the State of (name)
                                             Or is incorporated under the laws of (foreign nation)
                                             and has its principal place of business in (name)

                                  (If more than one defendant is named in the complaint, attach an additional page providing the
                                  same information for each additional defendant.)

                       3.         The Amount in Controversy

                                  The amount in controversy-the amount the plaintiff claims the defendant owes or the amount at
                                  stake-is more than $75,000, not counting interest and costs of court, because (explain):




III.        Statement of Claim

           Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
           facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
           involved and what each defendant did that caused the plaintiff harm or violated the plaintiffs rights, including
           the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
           write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.




           see attached sheets



IV.        Relief

           State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
           arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
           the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
           punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
           punitive money damages.




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V.         Certification and Closing

           Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
           and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
           unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
           nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
           evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
           opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
           requirements of Rule 11.

           A.        For Parties Without an Attorney

                     I agree to provide the Clerk's Office with any changes to my address where case-related papers may be
                     served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                     in the dismissal of my case.

                     Date of signing:             /I-II- 2{)/I/'

                     Signature of Plaintiff            ~/Ju;R/ ~
                     Printed Name of Plaintiff          Begfre ·~ e.,       .1Ja UJ/lfS
           B.        For Attorneys

                     Date of signing:


                     Signature of Attorney
                     Printed Name of Attorney
                     Bar Number
                     Name of Law Firm
                     Street Address
                     State and Zip Code
                     Telephone Number
                     E-mail Address




                                                                                                                      Pages of 5
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On August 3, 2017 I Beatrice Downs went down to governor

McAullife office to peacefully protest on the sidewalk front

Entrance state property, to publicize my grievances. Concerns
And dissatisfaction with the action from state and county

Agents against me. lnterms of their severe, pervasive and

Unrelenting retaliation system of abuse that I have experience
For over 20 years now. Punishment for filing a discrimination
Claim with the EEOC back in 1991,against the state agency
Where I worked at the Medical College of Virginia hospital
In the capacity of a nurse. I made signs spelling out my
concerns and issues. Seeking relief from the abuse,
And to ask the governor for a pardon. The security guard came
out and told me I could'nt protest there that I had to leave

Which I did, he gave me a number to call to get a permit to
Protest. I called the number and spoke with Kristy Martin@dgs.
Virginia.gov she told me she had to make arrangements with
the governor's office before I could protest.




                                   (_/)
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After the incident on August 3, 2017 I learned that the action
Taken by the security guard against me infringed on
constitutionally protected rights of the first admendment
Free speech, free assembly and freedom to petition for redress
Of grievances and concerns. And 14th admendment due process
I have suffered greatly over the years in areas of employment

Adverse medical treatment, on 6/11/2002 went to the
Emergency room with complaints sharp pain in my back and
Abdomen, the treatment I received was abusive. Four ct scans
Were done back to back plus two chest xrays.unnecssary and
Excessive exposure to radiation administered improperly.
Medical records incorrect order in which they were done.
There were no IV contrast administered at all, only oral contrast
The following is the correct order
     L) with out contrast
     2.) with contrast
     3.) with out constrast
     4.) with contrast
Question is if you already have taken oral contrast how can you
do one with out and get the proper results.
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A week after that enc.ounter at the emergency room I
developed blisters around my neck waist and left arm big
watery blisters that would run down my back. They would dry
up and come back, this went on for 3 months. I had no
insurance so I did'nt go back for treatment for fear of more
Adverse medical treatment. I have no doubt blisters was a
result of excessive over exposure to radiation from 4 ct scans
Plus 2 chest xrays. Punishment from the state's retaliation
system. Me and my family have suffered greatly from this on
going retaliation with no end insight. My daughter was 6 years
old at the time. We lived in homeless shelters for 3 years as I
Could not provide the basic necessities due to the lack of
employment, we faced many hardships,and struggles as we
were being beaten down on a daily bases for over 20 years with
no regards for human fraility.
On September 22, 2017 I went back down to governor
McAullife office with my signs to exercise my constitutional
right to publicize my grievances, concerns and dissatisfaction
with state and county agents unrelenting pervasive and severe
abuse against me. Once again security guard came out told me
I has to leave the area you cannot protest in this area.
My conduct was peaceful and orderly, just walking carrying my
signs. I left the area as I was told to do.


                             (3)
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The right to protest i~ public places is fundamental to who we
are as free and democratic people. Government has no power
to restrict expression because of message, its ideal, its subject·
matter, or its content in traditional public forum.


Supreme Court decisions holds that public streets are the
quintessential public forums, public places, historically
associated with free exercise of expressive activities.
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The reason why Governor McAulliffe I am asking for a pardon,

Is because I feel like I have been in prison for over 20 years, In

The state of Virginia notorious retaliation system. When I think

Back over the years the threats on my life, so much has happen.

After filing the discrimination claim with the EEOC, I remember

Working the 3-11 shift my car parked in the MCV employee's

Parking deck someone disable my brake lights and signal lights

On my car. I use the interstate 95 to go home, I did not know

Until I got on 95 and trucks and cars were blowing their horns at

Me, what going on here why are they blowing horns so much.

But by the grace of God I made it home safely. The next

Morning I took my car in to be service and discovered that the

Man told me lady someone has tampered with your car.

He ask me where do you work I told him MCV hospital

Someone must not like you there because this was deliberately

Done, you could have been run over by a tractor trailer truck or

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Worse look like some one wants to get rid of you.

If you had an accident you would have been charged with

Operating a vehicle with no lights. It scared me to death just

Thinking about what could have happen, He told me you should

Report this to the police. Because someone attempted to kill you

By tampering with your car. I have a story to tell I believe it

Should be told so as to help someone else out there that is going

Thru the same hell that I went thru. I did not break any laws nor

Committed any crime yet I've treated like a criminal.

No one should have to go thru this kind of retaliation and abuse

For exercising their rights.

I know that the fact I am a Black African American does not

Help things only makes it more intense. Because this society is

Fixed on the color of skin and it has only gotten more prevalent

Today then ever instead of moving forward with race issues we

We as a nation are moving backward.
                          Ct)
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Oppressed people cannot remain oppressed forever. The

Yearning for freedom eventually manifests itself and that is

What has happened to this American negro Beatrice Downs
        (MLK)


Governor McAulliffe I have seen in the media where prisoners

Who have wrongly served time in prison for long periods

Time and was later found to be not guilty of crimines they were

Charged with. They were compensated for the mistakes that

Was made. I am seeking the same kind of compensation as I am

Not guilty of breaking any law instead I have been law-biding

Tax- paying citizen of the commonwealth. A victim of a cruel

And unjust retaliation system aimed at punishing African

American who dare to file discrimination claims against a state

Agency.



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The following are court cases used to support my petition

  1.) Frisby v Schultz, 487 U.S. 474, 480 (1988)


 2.) First Unitarian Church of Salt Lake City v Salt Lake
       City corp; 308 F. 3d 1114,1122-23 (10th cir 2002)

 3.)   Grace, 461 U.S. at 177


 4.) Edwards v South Carolina, 372 U.S.229 (1963)


  5.) Gregory v City of Chicago, 394 U.S. 111 (1969)

  6.) U.S. v Apel, 134 s. Ct.1144 (2014)
